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U.S. Department of Justice

William D. Weinreb
Acting Um`ted States Attorney
District of Massachusetts

 

 

Ma¢'n Receprion: (6] 7) 748-3100 John Joseph Moakley Um'!ed Slates Courthouse
l Courthouse Way
Suite 9200
Baston, Massachusells 022I 0

October 13, 2017

R. Bradford Bailey, Esq.
Adamo Lanza, Esq.

Brad Bailey LaW, P.C.

10 Winthrop Square, 4“‘ floor
Boston, MA 02210

Re: United States v. Scot B. Letoumeau
Criminal No. 15-CR-10156-DJC and
Criminal No. l7-CR-2142-MV (Rule 20 Transfer from District of New Mexico)

 

Dear Attorneys Bailey and Lanza:

The Acting United States Attorney for the District of Massachusetts (“the U.S. Attomey”)
and your client, Scot B. Letoumeau (“Defendant”), agree as follows with respect to the above-
referenced cases:

l. Change of Plea

At the earliest practicable date, Defendant shall plead guilty to all counts in which he is
named in:

District of Massachusetts Criminal No. 15-CR-10156-DJC: Distribution of Child
Pornography, in violation of 18 U.S.C § 2252A(a)(2)(A) and (b)(l), and Possession of Child
Pornography, in violation of 18 U.S.C § 2252A(a)(5)(B) and (b)(Z); and

District of New Mexico Criminal No. 17-CR-2142~MV: Failure to Register as a Sex
Offender, in violation of 18 U.S.C. §2250(a). Defendant expressly and unequivocally admits that
he committed the crimes charged in these cases and counts, did so knowingly, and is in fact guilty
of those offenses Defendant also agrees to waive venue, to waive any applicable statute of
limitations, and to waive any legal or procedural defects in District of New Mexico Criminal No.
17-CR-2142-MV.

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2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on each count
of District of Massachusetts Criminal No. 15-CR-10156-DJC:

Count One, Distribution of Child Pornography: incarceration for a mandatory minimum
period of 15 years and a maximum of life; supervised release for a mandatory minimum period of
5 years and a maximum of 40 years; a fine of $250,000; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Indictment.

Count Two, Possession of Child Pornography: incarceration for a mandatory minimum
period of 10 years and a maximum of 20 years; supervised release for a mandatory minimum
period of 5 years and a maximum of life; a fine of $250,000; a mandatory special assessment of
$100; restitution; and forfeiture to the extent charged in the Indictment.

Defendant faces the following maximum penalties on the count alleged in District of New
Mexico Criminal No. 17-CR-2l42-MV:

Failure to Register as a Sex Offender: incarceration for a maximum period of 10 years;
supervised release for a mandatory minimum period of 5 years and a maximum of life; a fine of
$250,000; and a mandatory special assessment Of $100.

Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

Defendant understands and agrees that as a consequence of his conviction for the crimes
to which he is pleading guilty, he will be required to register as a sex offender, and to keep that
registration current, in the place where he resides, where he is employed, and where he is a student,
pursuant to the Sex Offender Registration and Notiflcation Act, and the laws of the state of his
residence F ailure to do so may violate the terms of his supervised release and subject him to new
criminal charges pursuant to 18 U.S.C. §2250.

3. Fed. R. Crim. P. llgc}(l)gC)Plea

This Plea Agreement is made pursuant to Fed. R. Crim. P. ll(c)(l)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance With Rule ll(c)(l)(C), if the
District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment If the Court rejects any aspect of this Plea Agreement, the U.S.
Attomey may deem the Plea Agreement null and void. Defendant understands and acknowledges

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that he may not withdraw his plea of guilty unless the Court rejects this Plea Agreement under
Fed. R. Crim. P. ll(c)(5).

4. Sentencing Guidelines

The parties agree jointly to take the following positions at sentencing under the United
States Sentencing Guidelines (“USSG” or “Guidelines”). The parties agree that Defendant’s total
adjusted offense level under the Guidelines is calculated as follows:

¢ the counts of District of Massachusetts Criminal No. 15-CR-10156-DJC are
grouped together, Group One, per USSG § 3D1.2(d); and the one count of
District of New Mexico Criminal No. l7-CR-2l42-MV, is a separate group,
Group Two, per USSG § 3D1.2(b);

¢ the adjusted offense level applicable to Group One is 40, pursuant to USSG
§ 2G2.2(a)(2), as Defendant’s base offense level is 22 and that base offense
level is increased by a total of 18 levels in accordance with USSG
§§ 2GZ.2(b)(2), 2G2.2(b)(3)(B), 2G2.2(b)(4), 2G2.2(b)(6), and
2G2.2(b)(7)(D);

o the adjusted offense level applicable to Group Two, 14, pursuant to USSG
§ 2A3.5(a)(2), does not affect the combined adjusted offense level of Group
One, pursuant to USSG § 3Dl.4(c) as Group Two is 9 or more levels less
serious than Group One; and

0 in accordance with USSG § 3El .l, based on Defendant’s prompt acceptance of
personal responsibility for the offenses of conviction in this case, the adjusted
offense level is reduced by three.

The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this case is
based, in part, on Defendant’s prompt acceptance of personal responsibility for the offenses of
conviction in this case.

The U.S. Attomey may, at his sole option, be released from his commitments under this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;

(b) Fails to truthfully admit Defendant’s conduct in the offense(s) of
conviction;

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(C)

(d)
(€)

(f)
(s)
(h)
(i)

(j)

Falsely denies, or frivoloust contests, relevant conduct for which
Defendant is accountable under USSG § lBl .3;

Fails to provide truthful information about Defendant’s financial status;
Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which
Defendant is accountable under USSG § 1Bl.3;

Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.l;
Intentionally fails to appear in Court or violates any condition of release;

Commits a crime;

Transfers any asset protected under any provision of this Plea Agreement;
or

Attempts to withdraw Defendant’s guilty plea.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Offrce with accurate and complete information regarding this case.

5. Agreed Disposition

Pursuant to Fed. R. Crim. P. ll(c)(l)(C), the U.S. Attomey and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

(a)

(b)
(C)
(d)

(€)

Counts one and two of District of Massachusetts Criminal No. 15-CR-
10156-DJC, incarceration for 192 months; and on District of New Mexico
Criminal No. l7-CR-2142-MV, incarceration for 12 months to run
concurrently With Count one of District of Massachusetts Criminal No. 15-
CR-10156-DJC;

a fine of $2,000;

60 months of supervised release;

a mandatory special assessment of $300, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so);

restitution to be determined by the Court at sentencing; and

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(f) forfeiture as set forth in Paragraph 8.

6. Protection of Assets for Pamrent of Restitution, Forfeiture and Fine

Defendant agrees not to transfer, or authorize the transfer of, any asset that has been
restrained by Order of the Court in this case or any asset, whether or not restrained, that Defendant
has agreed to forfeit pursuant to this Plea Agreement.

Defendant agrees not to transfer, or authorize the transfer of any other asset in which
Defendant has an interest without prior express written consent of the U.S. Attorney, except for:

(a) Assets subject to superior, secured interests of innocent third parties, in
which Defendant has an equity interest of less than $ 1,000;

(b) Ordinary living expenses necessary to house, clothe, transport and feed
Defendant and those to whom Defendant owes a legal duty of support, so
long as such assets do not exceed $ 1,000 per month; and

(c) Attorney’s fees incurred in connection with this criminal case.

This prohibition shall be effective as of the date of Defendant’s execution of this Plea
Agreement and continue until the tine, forfeiture and restitution ordered by the Court at sentencing
are satisfied in full.

7. Waiver of Right to Appeal and to Bring Future Challenge

(a) Defendant has conferred With his attorney and understands that he has the
right to challenge his convictions in the United States Court of Appeals for
the First Circuit (“direct appeal”). Defendant also understands that, in some
circumstances, Defendant may be able to challenge his convictions in a
future proceeding (collateral or otherwise), such as pursuant to a motion
under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
to challenge Defendant’s convictions on direct appeal or in any nature
proceeding (collateral or otherwise).

(b) Defendant has conferred with his attorney and understands that defendants
ordinarily have a right to challenge in a direct appeal their sentences
(including any orders relating to terms and conditions of supervised release,
fines, forfeiture, and restitution) and may sometimes challenge their
sentences (including any orders relating to supervised release, fines,
forfeiture, and restitution) in a future proceeding (collateral or otherwise).
The rights that are ordinarily available to a defendant are limited When a
defendant enters into a Rule ll(c)(l)(C) agreement ln this case, Defendant

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(C)

(d)

waives any rights Defendant may have to challenge the agreed-upon
sentence (including any agreement relating to supervised release, fines,
forfeiture, and restitution) on direct appeal and in a future proceeding
(collateral or otherwise), such as pursuant to 28 U.S.C. §2255 and 28
U.S.C. § 2241. Defendant also Waives any right Defendant may have under
18 U.S.C. § 3582 to ask the Court to modify the sentence, even if the USSG
are later amended in a way that appears favorable to Defendant. Likewise,
Defendant agrees not to seek to be resentenced With the benefit of any
change to Defendant’s Criminal History Category that existed at the time of
Defendant’s original sentencing Defendant also agrees not to challenge the
sentence in an appeal or future proceeding (collateral or otherwise) even if
the Court rejects one or more positions advocated by any party at
sentencing In sum, Defendant understands and agrees that in entering into
this Plea Agreement, the parties intend that Defendant will receive the
benefits of the Plea Agreement and that the sentence will be final.

The U.S. Attomey agrees that he will not appeal the imposition by the Court
of the sentence agreed to by the parties as set out in Paragraph 5, even if the
Court rejects one or more positions advocated by either party at sentencing

Regardless of the previous subparagraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

8. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,

enter an order of forfeiture as part of Defendant’s sentence in Criminal No.l§-CR-10156-DJC, and
that the order of forfeiture may include assets directly traceable to Defendant’s offenses, assets
used to facilitate Defendant’s offenses, substitute assets and/or a money judgment equal to the

value of the property derived from, or otherwise involved in, the offenses

The assets to be forfeited specifically include computers and electronic devices, including

cell phone(s), and other items, seized from Defendant’s residence on or about May 21, 2015, or

obtained by consent from Defendant’s employer, including, the following:

a. iPhone 50, bearing serial number FCC ID: BDG-E2644A, IMEI: 35853;
b. Acer Aspire 5552, bearing serial number LXR440217310338CF61601;
c. Sony MicroVault;

d. G.Skill Micro SD XC, bearing serial number GS48LCAQ142010; and
e. Seagate Barracuda ST31000528AS, bearing serial number 5VP4RL6W;

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Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute any visual depiction described in sections 2251, 2251A, 2252, 2252A, 2252B, or 2260
of Chapter 110 of Title 18, or any book, magazine, periodical, film, videotape, or other matter
which contains any such visual depiction, Which Was produced, transported, mailed, shipped, or
received in violation of Chapter l 10 of Title 18; and/or any property, real or personal, constituting
or traceable to gross profits or other proceeds obtained from such offenses; and/or any property,
real or personal, used or intended to be used to commit or to promote the commission of such
offenses or any property traceable to such property, Defendant agrees to consent to the entry of
orders of forfeiture for such property and waives the requirements of Federal Rules of Criminal
Procedure ll(b)(l )(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
advice regarding the forfeiture at the change-of-plea hearing, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the j udgment. Defendant understands and agrees
that forfeiture shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment,
tax liability or any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking Whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture, Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding

Defendant also agrees to waive all constitutional, legal and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance With
this Plea Agreement. Defendant agrees not to challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

Defendant hereby Waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

The United States agrees to return to the Defendant or the Defendant’s employer, the
following seized property, which is not being forfeited: Kingston Data Traveler; SIM cards; iPad,
1460, bearing serial number DMPKZODTFISW; fourteen optical discs; iPod, A1059, bearing
serial number 4U446HEWPS9; Lexar USB fiashdrive; Western Digital My Passport, bearing
serial number WXF1A3188094; HP Chromebook l4-q063cl, serial number 6CC34B4CY6; and
Maxtor DiamondMax 10, bearing serial number L504DQTH, in Venus DS3 Enclosure, bearing
serial number 05 0436B101 l. As to these items, the Defendant hereby waives any and all claims
arising from or relating to the seizure, detention, and return of the property.

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9. Information F or Presentence Report

Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant’s assets.

10. Civil Liability

By entering into this Plea Agreement, the U.S. Attomey does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph l of this
Plea Agreement,

ll. Withdrawal of Plea Bv Defendant or Reiection of Plea by Court

Should Defendant move to withdraw his guilty plea at any time, or should the Court reject
the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement, this
Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event, Defendant
agrees to waive any defenses based upon the statute of limitations, the constitutional protection
against pre-indictment delay, and the Speedy Trial Act with respect to any and all charges that
could have been timely brought or pursued as of the date of this Plea Agreement.

12. Breach of Plea Ag;eement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has violated
any condition of Defendant’s pretrial release, or has committed any crime following Defendant’s
execution of this Plea Agreement, the U.S. Attomey may, at his sole option, be released from his
commitments under this Plea Agreement in their entirety by notifying Defendant, through counsel
or otherwise, in writing. The U.S. Attomey may also pursue all remedies available to him under
the law, regardless whether he elects to be released from his commitments under this Plea
Agreement. Further, the U.S. Attomey may pursue any and all charges which otherwise may have
been brought against Defendant and/or have been, or are to be, dismissed pursuant to this Plea
Agreement, Defendant recognizes that his breach of any obligation under this Plea Agreement
shall not give rise to grounds for withdrawal of Defendant’s guilty plea, but will give the U.S.
Attomey the right to use against Defendant before any grand jury, at any trial or hearing, or for
sentencing purposes, any statements made by Defendant and any information, materials,
documents or objects provided by Defendant to the government, without any limitation, regardless
of any prior agreements or understandings, written or oral, to the contrary. In this regard,
Defendant hereby waives any defense to any charges that Defendant might otherwise have based
upon any statute of limitations, the constitutional protection against pre-indictment delay, or the
Speedy Trial Act.

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13. Who ls Bound Bv Plea Agreement

 

This Plea Agreement is limited to the U.S. Attomey for the District of Massachusetts, and
cannot and does not bind the Attomey General of the United States or any other federal, state or

local prosecutive authorities

14. Modifications to Plea Agreement

This Plea Agreement can be modified or Supplemented only in a Written memorandum

signed by the parties or on the record in court.

lf this letter accurately reflects the agreement between the U.S. Attomey and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attomey Suzanne Sullivan

Jacobus.

Very truly yours,

WILLIAM D. WEINREB
Acting United States Attomey

Chief, Major Crimes Unit
ROBERT E. RICHARDSON
Deputy Chief, Major Crimes Unit

 
 
    

Suza e Sullivan Jacobu
Assistant U.S. Attomey

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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter in its entirety and discussed it with my attorney. l hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney’s
Office for the District of Massachusetts for both cases listed on page one; (b) there are no unwritten
agreements between me and the United States Attorney’s Office; and (c) no official of the United
States has made any unwritten promises or representations to me, in connection with my change
of plea. In addition, l have received no prior offers to resolve these cases l understand the crimes
to which l have agreed to plead guilty, the mandatory minimum and maximum penalties for those
offenses and the Sentencing Guideline penalties potentially applicable to them. l am satisfied with
the legal representation provided to me by my attomey. We have had sufficient time to meet and
discuss my cases. We have discussed the charges against me, possible defenses l might have, the
terms of this Plea Agreement and whether I should go to trial. l am entering into this Plea
Agreement freely, voluntarily, and knowingly because l am guilty of the offenses to which l am
pleading guilty and I believe this Plea Agreement is in my best interest

§Aéf@:

Scot B. Letourneau
Defendant

Date: il\"}'@i\ l/i'

l certify that Scot B. Letourneau has read this Plea Agreement and that we have discussed
its meaning l believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily and knowingly in both cases. l also certify that the U.S. Attomey has not
extended any other offers to resolve this matter.

 

wjr/7
R

. Bradford Bailey/
Adamo Lanza
Attorneys for Defendant

Date: ////2€// 7

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